      Case: 23-55597, 10/13/2023, ID: 12809770, DktEntry: 10, Page 1 of 67




                                No. 23-55597


          IN THE UNITED STATES COURT OF APPEALS
                  FOR THE NINTH CIRCUIT


             PEOPLE OF THE STATE OF CALIFORNIA
                      Plaintiff – Appellee,

                                        v.

                   CAREMARKPCS HEALTH, L.L.C.,
                       Defendant – Appellant,
                                     and
                  ELI LILLY AND COMPANY, ET AL,
                            Defendants.

            On Appeal from the United States District Court
                 for the Central District of California
                        Hon. Sherilyn P. Garnett
                    Case No. 2:23-cv-01929-SPG-SK


               BRIEF FOR DEFENDANT-APPELLANT
                 CAREMARKPCS HEALTH, L.L.C.


MATTHEW DONALD UMHOFER                       ENU MAINIGI
ELIZABETH A. MITCHELL                        CRAIG SINGER
UMHOFER, MITCHELL & KING LLP                 A. JOSHUA PODOLL
767 S. Alameda St., Suite 270                WILLIAMS & CONNOLLY LLP
Los Angeles, California 90021                680 Maine Avenue SW
(213) 394-7979                               Washington, DC 20024
                                             (202) 434-5000


          Attorneys for Appellant CaremarkPCS Health, L.L.C.
       Case: 23-55597, 10/13/2023, ID: 12809770, DktEntry: 10, Page 2 of 67




         RULE 26.1 CORPORATE DISCLOSURE STATEMENT

      Pursuant to Ninth Circuit Rule 26.1, the undersigned certifies that

appellant CaremarkPCS Health, L.L.C. is a wholly owned subsidiary of CVS

Health Corporation. No publicly held corporation owns more than 10% of the

stock of either entity.

      Dated: October 13, 2023        s/ Enu Mainigi
                                     Enu Mainigi

                                     Attorney for CaremarkPCS Health,
                                     L.L.C.




                                        i
           Case: 23-55597, 10/13/2023, ID: 12809770, DktEntry: 10, Page 3 of 67




                                       TABLE OF CONTENTS
                                                                                                                 Page
INTRODUCTION................................................................................................... 1
STATEMENT OF JURISDICTION ................................................................... 4
STATEMENT OF THE ISSUES FOR REVIEW ............................................ 4
STATEMENT OF THE CASE ............................................................................ 5
I.       Factual Background ...................................................................................... 5
II.      Procedural History ...................................................................................... 12
SUMMARY OF THE ARGUMENT .................................................................. 16
STANDARD OF REVIEW ................................................................................. 20
ARGUMENT ......................................................................................................... 20
I.       The Alleged Conduct Allows Removal under Section
         1442(a)(1), as the State Does Not Dispute. .............................................. 23
II.      The State’s Disclaimers Did Not Defeat Jurisdiction............................. 27
         A.       The State’s Disclaimers Are Inconsistent with the
                  Allegations of the Complaint. .......................................................... 27
         B.       The State’s Disclaimers Are Inadequate to Defeat
                  Jurisdiction and Invalid as a Matter of Law. ................................. 34
                  1.       The Complaint’s Narrow Disclaimer Cannot
                           Support Remand ..................................................................... 34
                  2.       The State’s Post-Removal Disclaimers Are
                           Invalid Because They Require the State Court to
                           Determine the Scope of Caremark’s Federal
                           Conduct. ................................................................................... 38
                  3.       The District Court Erred by Relying on the
                           State’s Post-Removal Disclaimers ........................................ 46
III.     Removal Serves the Purposes of Section 1442(a)(1). .............................. 48
IV.     In the Alternative, the Court Should Join Its Sister Courts
        and Overrule the “Causal Nexus” Test..................................................... 52
CONCLUSION...................................................................................................... 54
STATUTORY ADDENDUM ....................................................................... Add.1
                                                           ii
          Case: 23-55597, 10/13/2023, ID: 12809770, DktEntry: 10, Page 4 of 67




                                  TABLE OF AUTHORITIES
                                                                                                        Page
                                                  CASES
Agyin v. Razman, 986 F.3d 168 (2d Cir. 2021) ...................................... 16, 22, 31
Arizona v. Manypenny, 451 U.S. 232 (1981) .......................................... 21, 45, 51
Baker v. Atl. Richfield Co., 962 F.3d 937 (7th Cir. 2020) ............................ 19, 52
Ballenger v. Agco Corp., 2007 WL 1813821 (N.D. Cal. June 22, 2007) ............ 41
BP P.L.C. v. Mayor of Balt., 141 S. Ct. 1532 (2021) .......................................... 24
Carnegie-Mellon Univ. v. Cohill, 484 U.S. 343 (1988) ...................................... 47
Chamber of Com. v. Bonta, 62 F.4th 473 (9th Cir. 2023)................................... 26
Cnty. Bd. of Arlington Cnty. v. Express Scripts Pharm., Inc.,
   996 F.3d 243 (4th Cir. 2021) ............................................................................. 24
Coventry Health Care of Mo., Inc. v. Nevils, 581 U.S. 87 (2017) ....................... 7
Cuomo v. Crane Co., 771 F.3d 113 (2d Cir. 2014) ......................................... 31, 32
Dougherty v. A O Smith Corp.,
   2014 WL 3542243 (D. Del. July 16, 2014) .............................................. passim
Durham v. Lockheed Martin Corp.,
   445 F.3d 1247 (9th Cir. 2006) ......................................................... 16, 21, 22, 23
Ely Valley Mines, Inc. v. Hartford Acc. & Indem. Co.,
   644 F.2d 1310 (9th Cir. 1981) ........................................................................... 33
Fisher v. Asbestos Corp. Ltd.,
   2014 WL 3752020 (C.D. Cal. July 30, 2014) ................................................... 32
Friedenberg v. Lane Cnty., 68 F.4th 1113 (9th Cir. 2023) ................................ 20
Goncalves ex rel. Goncalves v. Rady Children’s Hosp. San Diego,
   865 F.3d 1237 (9th Cir. 2017) .................................................................. passim
Hardesty v. Sacramento Cnty., 824 F. App’x 474 (9th Cir. 2020) .................... 47
Healthcare Venture Partners, LLC v. Anthem Blue Cross & Blue
   Shield, 2021 WL 5194662 (S.D. Ohio Nov. 8, 2021).............................. passim
Heilner v. Foster Wheeler LLC,
   2022 WL 3045838 (M.D. Pa. Aug. 2, 2022) ............................................... 32, 33
In re Commonwealth’s Motion to Appoint Couns. Against or Directed
   to Def. Ass’n of Phila., 790 F.3d 457 (3d Cir. 2015) ...................................... 52
In re: Insulin Pricing Litig., MDL No. 3080 (Aug. 3, 2023) ................ 16, 45, 48
Isaacson v. Dow Chem. Co., 517 F.3d 129 (2d Cir. 2008) ...................... 22, 24, 41
Jacks v. Meridian Res. Co., L.L.C., 701 F.3d 1224 (8th Cir. 2012) ........... 24, 26
Jefferson Cnty. v. Acker, 527 U.S. 423 (1999) ................................... 21, 22, 31, 33
K&D LLC v. Trump Old Post Off. LLC, 951 F.3d 503 (D.C. Cir. 2020).......... 33

                                                      iii
           Case: 23-55597, 10/13/2023, ID: 12809770, DktEntry: 10, Page 5 of 67




                                                                                                             Page
Cases—continued:
Latiolais v. Huntington Ingalls, Inc.,
   951 F.3d 286 (5th Cir. 2020) (en banc) ............................................................ 52
Leite v. Crane Co., 749 F.3d 1117 (9th Cir. 2014) ...................................... passim
Lockwood v. Crane Co., 2012 WL 1425157 (C.D. Cal. Apr. 25, 2012) ........ 35, 39
Marley v. Elliot Turbomach. Co., Inc.,
   545 F. Supp. 2d 1266 (S.D. Fla. 2008) ................................................ 39, 40, 41
Merrill Lynch, Pierce, Fenner & Smith Inc. v. Manning,
   578 U.S. 374 (2016)............................................................................................ 35
Moore v. Elec. Boat Corp., 25 F.4th 30 (1st Cir. 2022) ...................................... 52
Morales v. Trans World Airlines, Inc., 504 U.S. 374 (1992) ............................ 53
Nessel v. Chemguard, Inc., 2021 WL 744683 (W.D. Mich. Jan. 6, 2021) ......... 29
O’Halloran v. Univ. of Wash., 856 F.2d 1375 (9th Cir. 1988) ........................... 46
Oberstar v. CBS Corp., 2008 WL 11338471 (C.D. Cal. Feb. 11, 2008) ....... 28, 40
Osborn v. Haley, 549 U.S. 225 (2007) ............................................................ 31, 32
Pelker v. Air & Liquid Sys. Corp.,
   2018 WL 679642 (D. Or. Feb. 2, 2018) ............................................................ 46
Reaser v. Allis Chambers Corp.,
   2008 WL 8911521 (C.D. Cal. June 23, 2008) ............................... 18, 35, 38, 40
Redman v. A.W. Chesterton Co.,
   2008 WL 4447729 (N.D. Cal. Sept. 30, 2008) ................................................. 39
Reinbold v. Advanced Auto Parts, Inc.,
   2018 WL 3036026 (S.D. Ill. June 19, 2018) ............................................... 38, 41
Sawyer v. Foster Wheeler LLC, 860 F.3d 249 (4th Cir. 2017) .......................... 52
Shaw v. Delta Air Lines, Inc., 463 U.S. 85 (1983) ............................................. 53
Siders v. 20th Cent. Glove Corp. of Tex.,
   2016 WL 1733473 (S.D. W. Va. Apr. 29, 2016) ............................................... 40
Sparta Surgical Corp. v. Nat’l Ass’n of Sec. Dealers, Inc.,
   159 F.3d 1209 (9th Cir. 1998) ..................................................................... 34, 46
St. Charles Surgical Hosp., L.L.C. v. La. Health Serv. & Indem. Co.,
   990 F.3d 447 (5th Cir. 2021) .................................................................... passim
Stirling v. Minasian, 955 F.3d 795 (9th Cir. 2020) ........................................... 26
Tennessee v. Davis, 100 U.S. 257 (1880) ............................................................. 50
Watson v. Philip Morris Cos., Inc., 551 U.S. 142 (2007) ................ 20, 21, 49, 51
Williams v. Costco Wholesale Corp., 471 F.3d 975 (9th Cir. 2006) ............ 19, 46
Williams v. Lockheed Martin Corp., 990 F.3d 852 (5th Cir. 2021) .................. 46

                                                         iv
            Case: 23-55597, 10/13/2023, ID: 12809770, DktEntry: 10, Page 6 of 67




                                                                                                                       Page
Cases—continued:
Willingham v. Morgan, 395 U.S. 402 (1969) ............................................. passim
Wood v. Crane Co., 764 F.3d 316 (4th Cir. 2014) ................................................ 47
                              FEDERAL STATUTES AND RULES
5 U.S.C. §§ 8901-8913 .............................................................................................. 7
   § 8902 ........................................................................................................ 7, 17, 26
28 U.S.C.
   § 1442 ......................................................................................................... passim
   § 1447 .................................................................................................................... 4
42 U.S.C. § 1396r-8 .................................................................................................. 6
Act of Mar. 2, 1833, ch. 57 § 3, 4 Stat. 633 ........................................................... 49
Airline Deregulation Act, Pub. L. No. 95-504, 92 Stat. 1705 (1978) ................. 53
Federal Courts Improvement Act of 1996,
   Pub. L. No. 104-317, 98 Stat. 344 .............................................................. 49, 50
Federal Employee Health Benefits Act,
   Pub. L. No. 106-394, 114 Stat. 1629 (2000)............................................ passim
Removal Clarification Act of 2011, Pub. L. No. 112–51, 125 Stat. 545 ............ 50
Fed. R. App. P. 4 ...................................................................................................... 4
Fed. R. Civ. P. 12 ................................................................................................... 20
                                         CALIFORNIA STATUTE
Cal. Unfair Competition Law, Bus. & Prof. Code § 17200................................ 12
                                          OTHER AUTHORITIES
9 Cong. Deb. 461 (1833) ......................................................................................... 49
Black’s Law Dictionary 1158 (5th ed.1979) ......................................................... 53
H.R. Rep. No. 112–17 (2011), as reprinted in 2011 U.S.C.C.A.N. 420 ............. 50
Medicare & State Health Care Programs: Fraud & Abuse,
   64 Fed. Reg. 63518 (Nov. 19, 1999) ................................................................... 6
Off. of. Pers. Mgmt., Federal Employees Health Benefits Program
   Standard Contract for Experience-Rated Health Maintenance
   Organization Carriers (2019), https://www.opm.gov/healthcare-
   insurance/healthcare/carriers/experience-rated.doc ........................... passim
OIG Compliance Program Guidance for Pharmaceutical
   Manufacturers, 68 Fed. Reg. 23731 (May 5, 2003) ........................................ 6


                                                               v
       Case: 23-55597, 10/13/2023, ID: 12809770, DktEntry: 10, Page 7 of 67




                              INTRODUCTION

      The federal-officer-removal statute allows a defendant to remove a case

when (1) the defendant acts under the direction of a federal officer or agency;

(2) the charged conduct was carried out “for or relating to” the asserted official

authority; and (3) the defendant has a colorable federal defense.

CaremarkPCS Health L.L.C. (“Caremark”) removed this matter because it

challenges Caremark’s conduct in negotiating rebates for insulin medications

on behalf of government payors under the direction of the Office of Personnel

Management (“OPM”).

      The State of California has never seriously contested the core elements

of removal:    that at least some of Caremark’s rebate-negotiations are

conducted under the direction of a federal officer and that Caremark has a

colorable federal defense. The State, instead, purported to “disclaim” any

causes of action based on rebate negotiations related to Caremark’s federal

duties, thus pleading around the second element of the removal test—the

relationship between the charged conduct and the federal authority.

Caremark explained that its rebate negotiations on behalf of federal payors

cannot be segregated from its other rebate negotiations. The district court

nonetheless accepted the State’s disclaimers and remanded.


                                        1
        Case: 23-55597, 10/13/2023, ID: 12809770, DktEntry: 10, Page 8 of 67




      This appeal, therefore, turns on the answer to a single, disputed factual

question: Can Caremark’s rebate negotiations with manufacturers of insulin

medications be divided into two different buckets—federal and non-federal—

such that a state court’s rulings and judgment concerning Caremark’s “non-

federal” negotiations would not speak to Caremark’s “federal” negotiations?

If such a division is unworkable, as Caremark contends, then the State of

California’s complaint in this action challenges acts performed under a federal

officer, and the State cannot “disclaim” conduct related to Caremark’s federal

activities.

      Because the State brought a facial challenge to Caremark’s removal

petition, the district court was required to resolve that factual dispute in

Caremark’s favor. It did the opposite, ruling with no further explanation that

it was “not persuaded” that Caremark’s federal and non-federal conduct are

indivisible. ER-14. That failure to apply the correct standard of review, alone,

is reversible error.

      But the district court’s ruling on divisibility also was wrong on its merits.

Caremark does not negotiate separately with manufacturers on behalf of

government payors. When Caremark negotiates with manufacturers, it does

so on behalf of both government and non-government health plans. Any


                                         2
       Case: 23-55597, 10/13/2023, ID: 12809770, DktEntry: 10, Page 9 of 67




challenge to Caremark’s conduct in those negotiations is necessarily a

challenge to conduct “under” a “federal officer.” 28 U.S.C. § 1442(a)(1). It is,

therefore, impossible for the State to disclaim “federal” rebate-negotiation

conduct while maintaining claims based on “non-federal” rebate-negotiation

conduct because no such distinction exists.

      The State’s suggestion—during oral argument in the district court—

that it could present evidence in state court dividing federal and non-federal

conduct proves the point. Indeed, one of the key purposes of the federal-

officer-removal statute is to prevent state courts from ruling on the

applicability and scope of federal defenses. That concern is heightened here

because the federal court presiding over an MDL involving substantially

similar allegations by a number of other States and counties will need to rule

on these same issues.

      There is, in short, no distinction between Caremark’s federal and non-

federal negotiations. And even if there were room for disagreement over

whether such a distinction exists, the district court was bound to resolve that

dispute in Caremark’s favor.       The State’s complaint implicates conduct

“under” a federal officer and removal was proper pursuant to 28 U.S.C.

§ 1442(a)(1).


                                        3
       Case: 23-55597, 10/13/2023, ID: 12809770, DktEntry: 10, Page 10 of 67




      In the alternative, this Court should join its sister circuits and overrule

the “causal nexus” test that the district court applied to determine whether

the State’s claims bear a sufficiently close relationship to Caremark’s federal

conduct. In 2011, Congress amended section 1442(a)(1) to broaden the scope

of federal officer removal to claims that merely “relat[e] to” an act under color

of federal office. Most circuits recognize that these amendments overruled the

“causal nexus” standard, and this Court should do so as well.

                     STATEMENT OF JURISDICTION

      The district court had jurisdiction because the case was removed

pursuant to 28 U.S.C. § 1442(a)(1). On June 29, 2023, the district court entered

an order granting the State’s motion to remand this case.               ER-16-17.

Caremark filed a timely notice of appeal on July 5, 2023. See Fed. R. App. P.

4(a). This Court has jurisdiction under 28 U.S.C. § 1447(d).

             STATEMENT OF THE ISSUES FOR REVIEW

   1. Whether the district court erred in holding that federal officer removal

      was unavailable because the State disclaimed “federal” conduct in

      rebate negotiations, when




                                        4
       Case: 23-55597, 10/13/2023, ID: 12809770, DktEntry: 10, Page 11 of 67




      a.    Caremark negotiates rebates with manufacturers on behalf of all

      clients at once, and those negotiations do not distinguish between health

      plans for federal employees and non-federal employees, and

      b.    California’s jurisdictional disclaimers will require the state court

      to determine whether Caremark’s federal duties relate to California’s

      claims?

      2.    Whether the district court erred by relying on the State’s post-

      removal disclaimers instead of assessing jurisdiction as of the date of

      removal?

      3.    Whether the Court should join its sister circuits and, based on the

      plain language of section of 1442(a), require a removing party to show

      that its challenged conduct is related to acts under a federal officer,

      rather than requiring a removing party to establish a “causal nexus”?

                        STATEMENT OF THE CASE

I.    Factual Background

      1.    Eli Lilly and Company, Novo Nordisk, Inc., and Sanofi-Aventis

U.S. L.L.C. are pharmaceutical companies that research, develop,

manufacture, and sell prescription drugs, including diabetes medications. ER-

184. They also set the list prices for their products. ER-185; ER-199; ER-207.


                                        5
       Case: 23-55597, 10/13/2023, ID: 12809770, DktEntry: 10, Page 12 of 67




      Caremark, Express Scripts, Inc., and OptumRx, Inc. are PBMs that

contract with health plan sponsors to administer prescription drug benefits.

ER-184; ER-201. PBMs play an important role in managing the out-of-pocket

cost of pharmaceutical drugs for their health-plan clients. PBMs negotiate

with manufacturers to obtain lower prices on prescription drugs that they can

then offer their clients. E.g., ER-201; ER-203. Through those negotiations,

PBMs obtain rebates from manufacturers that can offset the cost of drugs.

Caremark and other PBMs are able to negotiate rebates with manufacturers

effectively because they can aggregate clients representing a large number of

beneficiaries, giving them some degree of leverage. See ER-186. The rebates

PBMs negotiate flow back to the PBMs’ clients in accordance with the terms

of their client contracts, lowering the clients’ net drug costs. ER-201; ER-203.

Pharmaceutical rebates, therefore, are valuable to Caremark’s clients. PBMs

long have negotiated such rebates and discounts, and federal law recognizes

PBM-negotiated rebates and discounts from manufacturers as standard

industry practice. See 42 U.S.C. § 1396r-8; Medicare & State Health Care

Programs: Fraud & Abuse, 64 Fed. Reg. 63518, 63518 (Nov. 19, 1999); OIG

Compliance Program Guidance for Pharmaceutical Manufacturers, 68 Fed.

Reg. 23731, 23734, 23736 (May 5, 2003).


                                        6
       Case: 23-55597, 10/13/2023, ID: 12809770, DktEntry: 10, Page 13 of 67




      PBMs also develop lists of drugs called “formularies” that their health-

plan clients can adopt to determine whether and to what extent those clients

cover the cost of certain medications for their members.             ER-200-202.

Although PBMs develop formulary products that they offer to clients, their

clients decide whether to accept, reject, or customize an offered formulary and

set the coverage for their members. ER-202.

      2.    Caremark’s clients include health plans that provide benefits to

federal employees pursuant to the Federal Employee Health Benefits Act

(“FEHBA”).      FEHBA “establishes a comprehensive program of health

insurance for federal employees.” Coventry Health Care of Mo., Inc. v. Nevils,

581 U.S. 87, 91 (2017) (citation omitted).         It “assigns to OPM broad

administrative and rulemaking authority over the program,” id. (citing 5

U.S.C. §§ 8901-8913), and authorizes OPM to contract with private carriers for

federal employees’ health insurance, 5 U.S.C. § 8902(a).

      OPM expressly contemplates that the health plans providing benefits to

federal employees will employ PBMs to administer the pharmacy component

of those benefits. OPM also expressly anticipates that such contracts will

include “Manufacturer Payments,” which it defines broadly to mean “any and

all compensation, financial benefits, or remuneration the PBM receives from


                                        7
      Case: 23-55597, 10/13/2023, ID: 12809770, DktEntry: 10, Page 14 of 67




a pharmaceutical manufacturer, including but not limited to, discounts;

credits; rebates, regardless of how categorized; market share incentives,

chargebacks, commissions, and administrative or management fees” as well as

“any fees received for sales of utilization data to a pharmaceutical

manufacturer.” Off. of Pers. Mgmt., Federal Employees Health Benefits

Program Standard Contract for Experience-Rated Health Maintenance

Organization Carriers, at I-18 (2019) (“FEHB Standard Contract”),

https://www.opm.gov/healthcare-insurance/healthcare/carriers/experience-

rated.doc.

     Although OPM does not directly contract with PBMs, it imposes myriad

obligations on the PBMs that contract with FEHBA carriers by requiring

those carriers to include specific provisions in all PBM contracts. OPM

requires that PBMs “provide pass-through transparent pricing based on the

PBM’s cost for drugs … in which the [FEHBA] Carrier receives the value of

the PBM’s negotiated [rebates].” Id. Thus, PBMs that “negotiate[] and

collect[]” rebates (which all FEHBA-carrier PBMs do) must “credit to the

Carrier either as a price reduction or by cash refund the value all [rebates]

properly allocated to the Carrier.” Id. Subject to these requirements, rebates

negotiated by PBMs with manufacturers and credited to the FEHBA carrier


                                       8
       Case: 23-55597, 10/13/2023, ID: 12809770, DktEntry: 10, Page 15 of 67




reduce the amounts paid for medicine—including diabetes medicine—by the

federal government in connection with FEHBA benefits.

      OPM also requires that PBMs provide quarterly and annual

Manufacturer Payment Reports regarding negotiated rebates. Id. at I-18 to

I-19. These reports must include information about the PBM’s entire portfolio

and client base, not just its FEHBA clients. In particular, the PBMs must

report: (1) “the dollar amount of Total Product Revenue for the reporting

period, with respect to the PBM’s entire client base”; (2) “the dollar amount of

all Manufacturer Payments earned by the PBM for the reporting period”;

(3) “the percentage of all Manufacturer Payments earned by the PBM for the

reporting period that were Manufacturer Formulary Payments, which are

payments the PBM receives from a manufacturer in return for formulary

placement and/or access, or payments that are characterized as ‘formulary’ or

‘base’ rebates or payments pursuant to the PBM’s agreements with

pharmaceutical manufacturers”; and (4) “the percentage of all Manufacturer

Payments received by the PBM during the reporting period that were

Manufacturer Additional Payments, which are all Manufacturer Payments

other than Manufacturer Formulary Payments.” Id. at I-18 to I-19.




                                        9
        Case: 23-55597, 10/13/2023, ID: 12809770, DktEntry: 10, Page 16 of 67




        OPM also retains authority to exercise direct oversight of certain PBM

activities. For instance, OPM is contractually entitled to “review and receive

any information and/or documents the Carrier receives from the PBM,

including a copy of its contract with the PBM.” Id. at I-19. PBMs also must

provide the OPM Office of Inspector General upon request “all PBM records

including, but not limited to:      (i) [a]ll PBM contracts with Participating

Pharmacies; (ii) [a]ll PBM contracts with Pharmaceutical Manufacturers;

(iii) [a]ll PBM contracts with third parties purchasing or using claims data;

(iv) [a]ll PBM transmittals in connection with sales of claims data to third

parties; and (v) [a]ll PBM Maximum Allowable Cost (MAC) price lists.” Id. at

I-19.

        Caremark contracts with a number of FEHBA plans to provide PBM

services.    In that context, Caremark has been subject to the OPM

requirements set forth above regarding disclosure and pass-through of

rebates to those plans. As those OPM requirements contemplate, Caremark

has entered into contracts with Pharmaceutical Manufacturers pursuant to

which those manufacturers are obligated to pay rebates that help offset the

cost of pharmaceutical drugs. ER-203.




                                         10
       Case: 23-55597, 10/13/2023, ID: 12809770, DktEntry: 10, Page 17 of 67




      3.    Caremark conducts rebate negotiations simultaneously on behalf

of a large swath of clients, including FEHBA plans. There is no rebate

negotiation exclusive to FEHBA health plans; rather, all rebate negotiations

that involve FEHBA plans involve private plans as well. ER-95; ER-98; ER-

101; ER-106-107; ER-109; ER-152-154.           Accordingly—and critically for

present purposes—Caremark does not negotiate a separate contract for each

of its clients with each manufacturer. To the contrary, for most of the period

described in the Complaint, the same manufacturer-PBM contracts that

governed rebates for insulin paid by manufacturers in connection with

FEHBA plans also governed rebates paid in connection with non-FEHBA

plans. See ER-153-154.

      These manufacturer contracts often do not set a uniform rebate rate for

a drug, but rather provide a matrix of available rebate rates that may apply

depending on various details. In particular, the rebate that a manufacturer is

obligated to pay may depend on details regarding the “formulary,” or list of

covered drugs, that applies to a given health plan. E.g., ER-201. Caremark

has developed a range of different “standard” formulary products that its

clients can accept, reject, or customize to set the coverage that applies to their

members. ER-202. Even clients that select custom formularies, however,


                                        11
       Case: 23-55597, 10/13/2023, ID: 12809770, DktEntry: 10, Page 18 of 67




receive rebates based on the overall manufacturer agreement negotiated with

Caremark. In other words, that a formulary is “standard” or “custom” alone

does not affect the amount that a manufacturer pays in rebates, which instead

depends on the agreement the manufacturer negotiated with Caremark, ER-

203.

II.    Procedural History

       On January 12, 2023, the State filed its complaint in the County of Los

Angeles Superior Court asserting that the PBMs’ negotiations with

manufacturers are not hard-fought, arm’s length negotiations but a conspiracy

to raise the price of insulin. See ER-184-185. Based on that allegation, the

State asserts two causes of action: (1) violation of the Unfair Competition Law,

Business and Professions Code section 17200, and (2) unjust enrichment. See

ER-223-224. The State purports to bring each claim on behalf of California

residents with diabetes. ER-219-222. It seeks injunctive relief, restitution,

civil penalties, and costs of suit. ER-224-225. The core of the State’s complaint

argues that Defendants “artificially” inflated insulin prices and made

misleading statements regarding the inflation. ER-223-224. In an effort to

avoid federal jurisdiction, the Complaint includes a purported disclaimer in a

footnote:


                                        12
       Case: 23-55597, 10/13/2023, ID: 12809770, DktEntry: 10, Page 19 of 67




      [The Complaint] does not challenge the creation of custom
      formularies for a federal officer, such as for any Federal
      Employees Health Benefits Act or TRICARE governed health
      benefits plan. Furthermore, it does not seek to recover moneys
      paid by the federal government pursuant to such plans, nor does
      it seek the recovery of federally mandated co-pays that were paid
      by such plans’ patients. As such, the Complaint does not seek
      relief from any PBM Defendants that is governed by or available
      pursuant to any claim(s) involving a federal officer associated with
      any Federal Employees Health Benefits Act or TRICARE-
      governed health benefits plan.

ER-189.

      Express Scripts, Inc. timely removed the action to the Central District

of California under the federal officer removal statute, 28 U.S.C. § 1442(a)(1),

and Caremark filed a Supplemental Notice of Removal invoking the same.

ER-158; ER-144. In its Supplemental Notice, Caremark alleged that “[t]he

Complaint does not—and could not—sever the alleged costs paid by California

diabetics arising from FEHBA contracts from those arising from non-federal

contracts,” and that California’s purported disclaimer “would require a

premature ruling on the fact-specific issue of whether the cause of California’s

claimed injury can be separated and divided between the PBMs’ negotiation

of manufacturer payments for FEHBA carriers authorized by OPM and the

PBM’s negotiation of manufacturer payments.” ER-153.




                                        13
       Case: 23-55597, 10/13/2023, ID: 12809770, DktEntry: 10, Page 20 of 67




      The State moved to remand, relying on its attempt to disclaim

Caremark’s federal conduct. In its briefing, the State purported to waive

“claims related to FEHBA” and said it was disclaiming “Caremark’s FEHBA

rebate conduct.” ER-82; ER-132. At oral argument, the State reiterated its

attempt to disclaim federal issues, stating (without explanation) that it was

“disclaiming FEHBA,” and arguing that it could—in state court—rely on

expert evidence to separate “FEHBA” and “non-FEHBA” conduct from

Caremark’s single set of rebate negotiations. ER-27; ER-29.

      The district court granted the State’s motion and ordered remand. ER-

16-17. The court first held that the disclaimer in the Complaint was not

improper artful pleading because the disclaimer “deals with specific claims …

rather than generally disclaiming the Court’s jurisdiction.” ER-13. This was

so, the court believed, because the State had disclaimed “claims arising out of

the PBM Defendants’ work on behalf of FEHBA.” ER-13. The court provided

no further analysis.

      The court then considered “whether the disclaimer in the Complaint,

and Plaintiff’s subsequent waivers, are sufficient to remove any causal nexus

that might otherwise have existed between Plaintiff’s [c]laims and … OPM.”

ER-13. The court acknowledged Caremark’s position that its federal and non-


                                        14
       Case: 23-55597, 10/13/2023, ID: 12809770, DktEntry: 10, Page 21 of 67




federal PBM services could not be disaggregated, and it recognized that “such

a division may be … difficult here.” ER-14. But, without further explanation,

the court rejected Caremark’s argument because it was “not persuaded that

[such a division] cannot be done.” ER-14.

      The court also rejected Caremark’s argument that the State’s request

for injunctive relief established the requisite connection to Caremark’s

conduct under the direction of a federal officer. The court again acknowledged

Caremark’s assertion that any injunction against its rebating and negotiating

practices would implicate its federal duties, but held that “the mere possibility

of a future injunction does not create federal officer jurisdiction” in light of

“Plaintiff’s repeated waiver.” ER-16. The court therefore determined that

“Plaintiff’s disclaimer, and later repeated waivers, negate any causal nexus

that might otherwise have existed between Plaintiff’s claims and [Caremark’s]

conduct on behalf of government officers” and granted the State’s motion.

ER-16.

      This case is one of many lawsuits against insulin manufacturers and

PBMs concerning rebating practices. After Caremark filed its notice of

appeal, the Judicial Panel on Multidistrict Litigation (“JPML”) instituted an

insulin-pricing MDL for “governmental and private actions” brought against


                                        15
       Case: 23-55597, 10/13/2023, ID: 12809770, DktEntry: 10, Page 22 of 67




the defendants in this action. See Dkt. 8, Ex. A, Transfer Order In re: Insulin

Pricing Litig., MDL No. 3080 (Aug. 3, 2023). The MDL was requested by a

number of states that have brought cases, like this one, “revolv[ing] around a

long history of rebate agreements and multitiered pricing practices for

numerous insulin products.” Id. at 3. The JPML acknowledged that it could

not transfer the present case to the MDL because it had been “remanded to

state court” at the time of the transfer. Id. at 1 n.3.

                     SUMMARY OF THE ARGUMENT

      A federal court must hear the State’s claims brought against Caremark

for work it performed while acting on behalf of the federal government and

subject to its direction and control. “The Supreme Court has held that the

right of removal is absolute for conduct performed under color of federal

office.” Durham v. Lockheed Martin Corp., 445 F.3d 1247, 1252 (9th Cir. 2006)

(cleaned up). Courts therefore “must credit the defendants’ theory of the case

when evaluating the relationship between the defendants’ actions and the

federal officer.” Agyin v. Razman, 986 F.3d 168, 175 (2d Cir. 2021) (cleaned

up). The district court here did the opposite: It credited the State’s theory of

the case, resolved a quintessential dispute of fact in the State’s favor, and

disregarded the allegations of Caremark’s notice of removal. And the court


                                        16
       Case: 23-55597, 10/13/2023, ID: 12809770, DktEntry: 10, Page 23 of 67




did so by crediting the State’s disclaimers, which are procedurally and

substantively invalid.

      I.    There is no real dispute that, absent the State’s purported waiver,

Caremark satisfies the elements of section 1442(a)(1). Courts routinely hold

that private entities that assist OPM in providing employee benefits pursuant

to FEHBA “act under” federal officers, and the State has never contested this

element. See, e.g., Goncalves ex rel. Goncalves v. Rady Children’s Hosp. San

Diego, 865 F.3d 1237, 1247-49 (9th Cir. 2017). The State’s claims also have a

“causal nexus” to Caremark’s federal conduct because the State seeks to hold

Caremark liable for conduct affecting all Californians, including those

receiving benefits through FEHBA. The requisite connection also exists

because Caremark’s rebate negotiations on behalf of FEHBA and non-

FEHBA carriers are the same. And Caremark has a colorable federal defense

that the State’s claims are preempted by FEHBA’s express preemption

provision, 5 U.S.C. § 8902(m)(1).

      II.   The district court granted remand exclusively based on the State’s

disclaimers—both the disclaimer in the Complaint and the State’s later

statements in its briefs and at oral argument. The disclaimers fail because

they are inconsistent with the State’s own allegations and with the relief the


                                        17
       Case: 23-55597, 10/13/2023, ID: 12809770, DktEntry: 10, Page 24 of 67




State seeks. Notwithstanding the purported disclaimers, the State challenges

rebate negotiations. Caremark undertakes those negotiations on behalf of

FEHBA and non-FEHBA clients at one time—there is no set of rebate

negotiations conducted only on behalf of FEHBA clients.               The State’s

purported disclaimer, therefore, is illusory.           Any claim challenging

Caremark’s rebate negotiations is a claim based on Caremark’s federal

conduct.

      The State’s disclaimers also fail on their own terms. The Complaint’s

carve-out cannot salvage the decision below because it waives a narrow

category of claims. See, e.g., Reaser v. Allis Chambers Corp., 2008 WL

8911521, at *6 (C.D. Cal. June 23, 2008).         Indeed, the State essentially

abandoned its Complaint-waiver below, and the district court explicitly relied

on the State’s post-removal disclaimers in granting remand.

      The State’s post-removal disclaimers also fail.          The post-removal

disclaimers are facially invalid because the scope of the waivers they describe

turns on the scope of Caremark’s federal defenses. In other words, to assess

how the waivers apply—or whether they apply at all—a court will need to

make determinations about the scope of Caremark’s activities under a federal

officer. Courts refuse to credit such “artful pleading designed to circumvent


                                        18
       Case: 23-55597, 10/13/2023, ID: 12809770, DktEntry: 10, Page 25 of 67




federal officer jurisdiction.” St. Charles Surgical Hosp., L.L.C. v. La. Health

Serv. & Indem. Co., 990 F.3d 447, 451 (5th Cir. 2021).

      Further, the district court erred by relying on the State’s post-removal

disclaimers to determine that federal jurisdiction was lacking, even though

jurisdiction is measured at the time of the pleadings. Williams v. Costco

Wholesale Corp., 471 F.3d 975, 976 (9th Cir. 2006).

      III.   The policies of federal officer removal fully support removal here.

Congress enacted and consistently has broadened the scope of federal officer

removal to prevent federal officers from being “brought to trial in a State

court[] for an alleged offense against the law of the State, yet warranted by

the Federal authority they possess.” Willingham v. Morgan, 395 U.S. 402,

406 (1969). The State’s claims seek to hobble Caremark’s ability to carry out

its federal functions and would directly impact the federal fisc.

      IV.    In the alternative, this Court should join its sister circuits and

abandon the causal-nexus test. E.g., Baker v. Atl. Richfield Co., 962 F.3d 937,

944 (7th Cir. 2020). Congress’s 2011 amendment to section 1442(a)(1) sought

to broaden the scope of federal-officer-removal rights, and this Court should

give effect to Congress’s choice. Under the appropriate standard, removal is

appropriate even if the State’s disclaimers are credited.


                                        19
       Case: 23-55597, 10/13/2023, ID: 12809770, DktEntry: 10, Page 26 of 67




                          STANDARD OF REVIEW

      This Court reviews “de novo the district court’s remand order for lack

of subject-matter jurisdiction.” Friedenberg v. Lane Cnty., 68 F.4th 1113,

1120 (9th Cir. 2023). Where, as here, a party brings a facial challenge to a

notice of removal, Courts must “resolve[] a facial attack as [they] would a

motion to dismiss under Rule 12(b)(6),” treating facts in the removal petition

“as true and drawing all reasonable inferences in the [removing party’s]

favor.” Leite v. Crane Co., 749 F.3d 1117, 1121 (9th Cir. 2014).

                                 ARGUMENT

      OPM provided explicit instructions to carriers and PBMs like Caremark

regarding rebates—including that PBMs must remit those rebates in full to

FEHBA plans. In negotiating rebates, Caremark acts simultaneously on

behalf of FEHBA and non-FEHBA plans; there is no FEHBA-only rebate

negotiation. The State’s Complaint, however, challenges all conduct related

to Caremark’s negotiation, execution, and representation of rebates. Thus,

this lawsuit necessarily challenges conduct under a federal officer, and the

remedies sought would “disable federal officials from taking necessary action

designed to enforce federal law.” Watson v. Philip Morris Cos., Inc., 551 U.S.




                                        20
       Case: 23-55597, 10/13/2023, ID: 12809770, DktEntry: 10, Page 27 of 67




142, 152 (2007). Removal was therefore proper pursuant to the federal-officer-

removal statute.

      That statute permits any person “acting under” a federal officer who is

sued “for or relating to any act under color of such office” to remove a case to

federal court. 28 U.S.C. § 1442(a)(1). The Supreme Court “has held that the

right of removal is absolute for conduct performed under color of federal

office, and has insisted that the policy favoring removal ‘should not be

frustrated by a narrow, grudging interpretation of § 1442(a)(1).’” Durham v.

Lockheed Martin Corp., 445 F.3d 1247, 1252 (9th Cir. 2006) (quoting Arizona

v. Manypenny, 451 U.S. 232, 242 (1981)); see Jefferson Cnty. v. Acker, 527 U.S.

423, 431 (1999); Goncalves ex rel. Goncalves v. Rady Children’s Hosp. San

Diego, 865 F.3d 1237, 1244 (9th Cir. 2017).

      This broad policy favoring federal officer removal serves critical federal

interests. The federal-officer-removal statute was “obviously an attempt to

protect federal officers from interference by hostile state courts” and to

ensure that “local prejudice[s]” could not hobble federal programs and

policies. Watson, 551 U.S. at 148, 150 (cleaned up). As such, section 1442(a)(1)

is a “clear command from both Congress and the Supreme Court that when

federal officers and their agents are seeking a federal forum, [courts] are to


                                        21
       Case: 23-55597, 10/13/2023, ID: 12809770, DktEntry: 10, Page 28 of 67




interpret section 1442 broadly in favor of removal.” Durham, 445 F.3d at 1252.

To effectuate this Congressional command, courts applying section 1442(a)(1)

“must credit the defendants’ theory of the case when evaluating the

relationship between the defendants’ actions and the federal officer.” Agyin

v. Razman, 986 F.3d 168, 175 (2d Cir. 2021) (quoting Isaacson v. Dow Chem.

Co., 517 F.3d 129, 137 (2d Cir. 2008)) (cleaned up); see, e.g., Acker, 527 U.S. at

432; Leite v. Crane Co., 749 F.3d 1117, 1121 (9th Cir. 2014).

      The district court here did the opposite. Instead of crediting Caremark’s

theory of the case—or at least resolving the parties’ factual disagreement

about the nature of Caremark’s rebate negotiations in Caremark’s favor, as

the governing law requires—the district court adopted the State’s version of

the facts and granted remand. The allegations in the State’s complaint,

however, are a direct challenge to Caremark’s federal duties. Caremark is

entitled to litigate its federal defenses to that challenge in a federal forum. The

State’s belated attempts to disclaim federal issues after removal are invalid

and, on their own terms, do not sever Caremark’s federal conduct from the

case. The Court should reverse.

      In the alternative, the Court should reconsider its precedents and

overrule the “causal nexus” standard that the court below applied.


                                        22
          Case: 23-55597, 10/13/2023, ID: 12809770, DktEntry: 10, Page 29 of 67




I.    The Alleged Conduct Allows Removal under Section 1442(a)(1), as
      the State Does Not Dispute.

      The State does not dispute that, absent its disclaimer, the conduct it

alleges in its complaint would entitle Caremark to a federal forum. To remove

under section 1442, a party that, like Caremark, is not an actual federal officer

or agency must show: “(a) it is a person within the meaning of the statute;

(b) there is a causal nexus between its actions, taken pursuant to a federal

officer’s directions, and [the] plaintiff’s claims; and (c) it can assert a colorable

federal defense.” Goncalves ex rel. Goncalves v. Rady Children’s Hosp. San

Diego, 865 F.3d 1237, 1244 (9th Cir. 2017) (quoting Durham v. Lockheed

Martin Corp., 445 F.3d 1247, 1251 (9th Cir. 2006)) (cleaned up).                  These

elements easily are met here.

      First, Caremark is a “person” that acts under the direction of a federal

officer when it performs PBM services for FEHBA plans. A private entity

acts “under” a federal officer when it is involved in “an effort to assist, or help

carry out, the duties of the federal superior.” Goncalves, 865 F.3d at 1245.

Caremark indisputably helps OPM “carry out” its duties administering

federal health benefits, subject to OPM’s “subjection, guidance, [and] control.”

See id.



                                           23
       Case: 23-55597, 10/13/2023, ID: 12809770, DktEntry: 10, Page 30 of 67




      Indeed, this Court, and every other circuit to consider the question, has

held that FEHBA carriers, and other similar entities, act under federal

officers because they help the government fulfill the basic task of establishing

the federal employee health benefits program. See id.; see also, e.g., Jacks v.

Meridian Res. Co., L.L.C., 701 F.3d 1224, 1234 (8th Cir. 2012), abrogated on

other grounds by BP P.L.C. v. Mayor of Balt., 141 S. Ct. 1532 (2021); accord

Cnty. Bd. of Arlington Cnty. v. Express Scripts Pharm., Inc., 996 F.3d 243,

253-54 (4th Cir. 2021) (PBM subcontractors are “acting under” federal

officers).

      Second, any lawsuit challenging Caremark’s provision of PBM services

bears a causal nexus to Caremark’s performance of its federal duties. “[T]he

hurdle erected by the causal-connection requirement is quite low.” Goncalves,

865 F.3d at 1244-45 (quoting Isaacson, 517 F.3d at 137). A defendant need

only show that the performance of its federal duty “constitute[s] the basis” of

the claims against it, or that the “challenged acts ‘occurred because of’ what

[it was] asked to do by the Government.” Id. (cleaned up).

      The Complaint challenges Caremark’s practices throughout the State

with regard to formularies and rebates and seeks to enjoin Caremark’s

rebating practices, which (but for the State’s disclaimer) includes rebates


                                        24
       Case: 23-55597, 10/13/2023, ID: 12809770, DktEntry: 10, Page 31 of 67




made pursuant to benefits provided to California through FEHBA carriers.

The State’s allegations make clear that it is attacking Caremark’s conduct

across its full book of business, claiming that Caremark caused insulin prices

to increase for everyone. Indeed, that the State seeks to recover against

Caremark and other PBMs for harm allegedly suffered by uninsured

Californians—i.e., people who were not members of any Caremark plan,

whether FEHBA or non-FEHBA, and who had no relation to Caremark or

any of its clients, see, e.g., ER-220—makes clear that the State is not

attempting to tie harm to Caremark’s alleged conduct on a client-specific basis,

such that its conduct for some clients is at issue but not for others.

      The State challenges this second element of the federal-officer-removal

test on the ground that its purported disclaimer removes any issues related to

Caremark’s federal activities from the case. But, as discussed in detail below,

the State’s disclaimer is invalid because it is impossible to separate

Caremark’s federal and non-federal activities, and even attempting to do so

would force a state court to pass on the merits of Caremark’s federal defense.

      Third, Caremark has a colorable preemption defense to the State’s

claims. To remove, a defendant must show only that its federal defense is

colorable—not that it would immediately “win [the] case.” Leite, 749 F.3d at


                                        25
        Case: 23-55597, 10/13/2023, ID: 12809770, DktEntry: 10, Page 32 of 67




1124; see Stirling v. Minasian, 955 F.3d 795, 801 (9th Cir. 2020). Caremark

easily clears this low bar. FEHBA contains an express preemption provision,

which states: “The terms of any contract under this chapter which relate to

the nature, provision, or extent of coverage or benefits (including payments

with respect to benefits) shall supersede and preempt any State or local law,

or any regulation issued thereunder, which relates to health insurance or

plans.” 5 U.S.C. § 8902(m)(1). The FEHB Standard Contract has preemptive

force because it “relate[s] to the nature, provision, or extent of coverage of

benefits.”    Id.   Indeed, this Court already has held that a virtually

indistinguishable contract had preemptive effect and gave rise to a colorable

federal defense. See Goncalves, 865 F.3d at 1249; see also Jacks, 701 F.3d at

1235.

        Furthermore, California’s Unfair Competition Law is preempted

insofar as it stands as an “unacceptable obstacle to the accomplishment and

execution of the full purposes and objectives of Congress” in enacting

FEHBA. Chamber of Com. v. Bonta, 62 F.4th 473, 486 (9th Cir. 2023). The

State’s attempt to disrupt Caremark’s negotiations on behalf of FEHBA

clients to obtain rebates that become federal funds presents a clear “obstacle”

to the administration of the FEHBA program.


                                         26
       Case: 23-55597, 10/13/2023, ID: 12809770, DktEntry: 10, Page 33 of 67




II.   The State’s Disclaimers Did Not Defeat Jurisdiction.

      The State’s remand argument hinges entirely on its purported

disclaimers of claims arising out of Caremark’s federal duties.

      The disclaimers are ineffective for three independent—though

intimately related—reasons.       First, the State’s purported disclaimers of

“federal” conduct fail because the State’s lawsuit challenges an indivisible

course of negotiating conduct that cannot be divided between FEHBA and

non-federal negotiations. Second, the State’s multiple attempts to disclaim

federal jurisdiction are ineffective and invalid.       The State purported to

disclaim federal jurisdiction in its complaint, but failed to carve out the

relevant federal conduct. The State attempted to cure its pleading failure with

multiple post-removal statements, but the State consistently failed to identify

and disclaim any discrete set of claims that a state court could implement

without litigation over the scope of Caremark’s federal duties. The district

court also erroneously afforded jurisdictional significance to post-removal

developments, namely the State’s post-removal disclaimers.

      A.    The State’s Disclaimers Are Inconsistent with the
            Allegations of the Complaint.

      1.    The State’s purported disclaimers fail because this lawsuit

squarely challenges the conduct the State purports to disclaim. As the Fifth

                                        27
       Case: 23-55597, 10/13/2023, ID: 12809770, DktEntry: 10, Page 34 of 67




Circuit has acknowledged, an express waiver may be ineffective if the

plaintiff’s conduct demonstrates that it is attempting to pursue claims it

purports to have waived. St. Charles Surgical Hosp., L.L.C. v. La. Health

Serv. & Indem. Co., 990 F.3d 447, 451 (5th Cir. 2021) (remanding for trial court

to determine effect of express waiver when plaintiff engaged in contrary

discovery). Courts routinely disregard purported disclaimers when they are

“inconsistent with the allegations of the Complaint,” Dougherty v. A O Smith

Corp., 2014 WL 3542243, at *3-4 (D. Del. July 16, 2014), and when the plaintiff

continues to pursue relief based on the defendant’s federal duties, Oberstar v.

CBS Corp., 2008 WL 11338471, at *3 (C.D. Cal. Feb. 11, 2008).

      The State here is pursuing claims based on Caremark’s conduct on

behalf of the federal government—including the negotiation of rebates. In its

Complaint, the State alleges that the “size of the secret rebates [PBMs]

negotiate” has led to price increases, which in turn has increased “demand for

their rebate negotiation services.” ER-185. The Complaint alleges that the

PBMs use group purchasing organizations “to enhance their market share,

especially with respect to rebate negotiations.” ER-202 (emphasis added).

The Complaint also takes aim at the way the “Manufacturer Defendants

negotiate for and enter into contracts with the PBM Defendants.” ER-203.


                                        28
         Case: 23-55597, 10/13/2023, ID: 12809770, DktEntry: 10, Page 35 of 67




The State’s claims challenge increasing WAC prices that, it alleges, allow

PBMs to “offer larger rebate guarantees to their clients, health insurers, and

other payers.” ER-215.

         The State’s challenge to Caremark’s rebate negotiations and strategies

is a direct challenge to the work Caremark carries out on behalf of the federal

government. Courts do not allow plaintiffs to avoid federal jurisdiction simply

by asserting that the defendants’ federal and non-federal conduct “will be

distinguishable” and attempting to “surgically divide” their claims on that

basis. Nessel v. Chemguard, Inc., 2021 WL 744683, at *3 (W.D. Mich. Jan. 6,

2021).

         Caremark does not negotiate rebates on a plan-by-plan basis, and it does

not conduct separate rebate negotiations for FEHBA and non-FEHBA

clients. ER-153-154. Thus, “California could not possibly sever [Caremark’s]

conduct negotiating rebates for FEHBA carriers from other conduct that it

alleges.”     ER-153.    Critically, for most of the period described in the

Complaint, the same manufacturer-PBM contracts that governed rebates for

insulin paid by manufacturers in connection with FEHBA plans also governed

rebates paid in connection with non-FEHBA plans. See ER-153. Because

Caremark’s rebate practices cannot be disaggregated between FEHBA and


                                          29
       Case: 23-55597, 10/13/2023, ID: 12809770, DktEntry: 10, Page 36 of 67




non-FEHBA plans, the State’s disclaimer cannot sever the causal connection

between the State’s claims and Caremark’s federal conduct.

      2.    The district court’s contrary conclusion was incorrect. The court

acknowledged Caremark’s position that “joint negotiations on behalf of

multiple parties could not” be divided, and agreed that such division would be

“more difficult here” than in any of the cases cited by the State. ER-14. But

the court held, without further explanation, that it was “not persuaded” that

such division “cannot be done.” ER-14. In reality, the division is impossible

because the State seeks to enjoin and hold Caremark liable for a single,

indivisible course of negotiating conduct. See ER-153-154. Unless the State

were to disclaim all claims based on rebates or negotiations, the purported

“disclaimer” is illusory.

      The court’s contrary holding ignored the applicable standard of review

and ran roughshod over settled Supreme Court precedent. As the State

concedes, it brought a facial challenge—not a factual challenge—to

Caremark’s notice of removal. Under the proper standard of review, the court

was required to “[a]ccept[ Caremark’s] allegations as true and draw[] all

reasonable inferences in [Caremark’s] favor.” Leite v. Crane Co., 749 F.3d

1117, 1121 (9th Cir. 2014). And under the federal-officer-removal statute, “a


                                        30
         Case: 23-55597, 10/13/2023, ID: 12809770, DktEntry: 10, Page 37 of 67




court must credit the defendants’ theory of the case when evaluating the

relationship between the defendants’ actions and the federal officer.” Agyin

v. Razman, 986 F.3d 168, 175 (2d Cir. 2021) (cleaned up); see, e.g., Jefferson

Cnty. v. Acker, 527 U.S. 423, 432 (1999); Leite, 749 F.3d at 1124. Even when

the plaintiff claims that the defendant’s conduct “ha[s] no relevancy to their

official duties as employees or officers of the United States,” the court is “not

required to accept the truth of the plaintiff’s allegations.” Osborn v. Haley,

549 U.S. 225, 249-50 (2007); see Cuomo v. Crane Co., 771 F.3d 113, 116 (2d Cir.

2014).

         The district court ignored this doubly deferential standard and resolved

the disputed question of whether Caremark’s conduct in rebate negotiations

is divisible in the State’s favor. There is no doubt that the divisibility of

Caremark’s federal duties presents a fact question. At oral argument, the

State informed the court that it intends to introduce expert testimony in state

court to differentiate between price increases caused by FEHBA (which

presumably would be disclaimed) and non-FEHBA price increases (which

presumably would be at issue). ER-29. That is a remarkable statement; the

State’s proposed “solution” to avoid state-court adjudication of Caremark’s

federal duties is to litigate the factual question of whether Caremark’s federal


                                          31
       Case: 23-55597, 10/13/2023, ID: 12809770, DktEntry: 10, Page 38 of 67




and non-federal conduct is divisible in a state-court battle of the experts.

Supreme Court precedent mandates that if the State wishes to litigate this

factual dispute, Caremark “should have the opportunity to present [its]

version of the facts to a federal, not a state, court.” Willingham v. Morgan,

395 U.S. 402, 407 (1969). That is “exactly what the removal statute was

designed to accomplish.” Id. The State’s argument “raises the very type of

factual dispute about the validity of [Caremark’s federal] defense that should

be submitted to the judgment of a federal court.” Cuomo, 771 F.3d at 116

(quoting Osborn, 549 U.S. at 251).

      In rejecting Caremark’s argument, the district court relied on two

inapposite asbestos cases. ER-14 (citing Fisher v. Asbestos Corp. Ltd., 2014

WL 3752020 (C.D. Cal. July 30, 2014); Heilner v. Foster Wheeler LLC, 2022

WL 3045838 (M.D. Pa. Aug. 2, 2022)). Unlike here, however, the plaintiffs in

both those cases waived claims arising out of categories of discrete, severable

conduct that easily could be removed from the case. In Fisher, the plaintiff

waived all claims arising out of asbestos exposure at government work sites.

See 2014 WL 3752020, at *4. In Heilner, the plaintiff waived claims arising out

of asbestos exposure occurring while he served in the Navy. See 2022 WL




                                        32
       Case: 23-55597, 10/13/2023, ID: 12809770, DktEntry: 10, Page 39 of 67




3045838, at *4. It is of course possible to separate the challenged conduct in

those cases by time and place.

      To be sure, the court in Heilner rejected the defendant’s argument that

the “indivisible nature of [the plaintiff’s] injury” counseled against remand. Id.

at *3. But the nature of the injury is not what matters. Federal officer removal

turns on the relationship “between the charged conduct and asserted official

authority.” Acker, 527 U.S. at 431 (emphasis added); see Willingham, 395 U.S.

at 409. It is the defendant’s conduct—not the nature of the injury—which

must be connected to federal officers to trigger removal. E.g., Ely Valley

Mines, Inc. v. Hartford Acc. & Indem. Co., 644 F.2d 1310, 1313 (9th Cir. 1981);

K&D LLC v. Trump Old Post Off. LLC, 951 F.3d 503, 507 (D.C. Cir. 2020).

Here, the “charged conduct” consists of rebates collected pursuant to

manufacturer agreements that cover both private and federal clients. To use

the asbestos analogy, it is as if the government prescribed the design and

controlled the production of all asbestos. If that were so, any asbestos-

exposure claim would necessarily have a federal nexus, regardless of whether

a particular piece of asbestos was installed on federal or private property.

      The district court also denied remand because it believed Caremark’s

argument “assume[d]” that any party contracting with the government “may


                                        33
       Case: 23-55597, 10/13/2023, ID: 12809770, DktEntry: 10, Page 40 of 67




always take advantage of federal officer removal if any portion of the work it

performs is on behalf of both private and government organizations, even if

the government services are not at issue.”         ER-14.    The district court’s

concerns were misguided. Section 1442(a)(1) applies only to persons “acting

under” the direction of a federal officer—a requirement the State concedes is

met here. In the mine run of cases, a party providing an ordinary commercial

product to the government in an arms-length transaction will be unable to

establish the requisite level of “subjection, guidance, or control” to establish

an “acting under” relationship. Goncalves, 865 F.3d at 1245. What is more,

parties merely selling products to the government may not be able to establish

that the requisite nexus exists between their federal duties and the plaintiffs’

claims or that they have colorable federal defenses. Here, those are settled

questions because the State does not raise any independent argument that the

elements of section 1442(a)(1) are not satisfied absent its disclaimers.

      B.    The State’s Disclaimers Are Inadequate to Defeat
            Jurisdiction and Invalid as a Matter of Law.

            1.    The Complaint’s Narrow Disclaimer Cannot Support
                  Remand.

      “[J]urisdiction must be analyzed on the basis of the pleadings filed at the

time of removal[.]” Sparta Surgical Corp. v. Nat’l Ass’n of Sec. Dealers, Inc.,


                                        34
       Case: 23-55597, 10/13/2023, ID: 12809770, DktEntry: 10, Page 41 of 67




159 F.3d 1209, 1213 (9th Cir. 1998), abrogated on other grounds by Merrill

Lynch, Pierce, Fenner & Smith Inc. v. Manning, 578 U.S. 374 (2016). The

only disclaimer at the time of removal was the narrow carve-out in the

Complaint. The Complaint’s narrow waiver fails because it does not sever the

connection between Caremark’s rebate negotiations and the acts it performs

under a federal officer. See, e.g., Reaser v. Allis Chambers Corp., 2008 WL

8911521, at *6 (C.D. Cal. June 23, 2008) (rejecting a disclaimer that waived

claims related to exposure in federal enclaves but maintained claims related to

exposure aboard naval vessels); see also Lockwood v. Crane Co., 2012 WL

1425157, at *2 (C.D. Cal. Apr. 25, 2012) (collecting cases as “inapposite because

they addressed narrower waivers”). Indeed, the State effectively conceded

that the Complaint’s carve out was inadequate when, in its motion to remand

and at oral argument, the State relied extensively on its post-removal

disclaimers.

      The Complaint purports to disclaim two enumerated categories of

claims: claims based on “the creation of custom formularies” under FEHBA

and “moneys paid by the federal government” and “by such plans’ patients.”

ER-189. Those limited disclaimers do not defeat federal jurisdiction because




                                        35
       Case: 23-55597, 10/13/2023, ID: 12809770, DktEntry: 10, Page 42 of 67




they ignore a broad swath of challenged conduct Caremark undertook in its

federal capacity.

      First, and most fundamentally, the Complaint’s disclaimer does not

cover claims based on Caremark’s alleged conduct with regard to rebates. The

Complaint alleges that Caremark’s rebate negotiations with manufacturers

were unlawful, and it is indisputable that Caremark engaged in such

negotiations relating to FEHBA plans. The Complaint does not purport to

disclaim the claims it asserts based on this federal-directed conduct.

      Second, the carve-out for “custom formularies” created for FEHBA

benefits plans is too narrow to defeat federal jurisdiction. For one thing, the

custom-formulary carve-out does not reach any claims based on activities

performed on behalf of FEHBA carriers that utilize standard (non-custom)

formularies. That alone dooms the first exclusion.

      For another thing, the same manufacturer contracts determine the

manufacturer’s rebate-payment obligations for standard and custom

formularies, and the State never has suggested otherwise. Even if a FEHBA

carrier has a custom formulary, but see ER-202 (“Most PBM health plan

customers adopt a standard formulary[.]”), it does not have a custom rebate




                                        36
      Case: 23-55597, 10/13/2023, ID: 12809770, DktEntry: 10, Page 43 of 67




contract with a manufacturer. Because the State challenges Caremark’s

conduct in negotiating rebates, the formulary carve-out is a red herring.

      Finally, the custom-formulary carve-out does not cover the Complaint’s

allegations regarding Caremark’s alleged misstatements. The State alleges

that Caremark represented that its rebating practices saved clients money

when, in reality, those practices had the opposite effect. The representations

supporting those allegations are not tied in any way to FEHBA or non-

FEHBA plans—they are general allegedly false statements.

      Third, the State’s disclaimer of any attempt to “recover moneys paid by

the federal government” pursuant to FEHBA plans or “the recovery of

federally mandated co-pays,” ER-189, is also unavailing. As explained above,

regardless of the remedy it seeks, the State nevertheless challenges

Caremark’s federal conduct. See supra, pp.27-34.

      Finally, in addition to any equitable monetary award, the State also

seeks injunctive relief. ER-224-225. The State’s disclaimer does not reach

injunctive relief. And any attempt to do so would be futile. For the reasons

explained in detail above, any injunction that limited Caremark’s ability to

seek and obtain rebates for non-FEHBA clients would also limit Caremark’s




                                       37
       Case: 23-55597, 10/13/2023, ID: 12809770, DktEntry: 10, Page 44 of 67




ability to seek and obtain rebates for FEHBA plans through OPM-approved

negotiation practices.

      For all of these reasons, the Complaint’s disclaimer was not sufficient to

carve out Caremark’s federal officer conduct. Thus, to the extent the district

court ruled on the basis of the Complaint’s carve-out, as opposed to the post-

removal disclaimers (discussed below), in concluding that the State disclaimed

all “claims arising out of the PBM Defendants’ work on behalf of FEHBA,”

ER-13, that decision was erroneous.

            2.    The State’s Post-Removal Disclaimers Are Invalid
                  Because They Require the State Court to Determine the
                  Scope of Caremark’s Federal Conduct.

      1.    The State’s post-removal attempts to cure its pleading failures

only made matters worse because its purported disclaimers were vague and

conclusory. Courts will not credit disclaimers “designed to circumvent federal

officer jurisdiction.”   St. Charles, 990 F.3d at 451 (quoting Reinbold v.

Advanced Auto Parts, Inc., 2018 WL 3036026, at *2 (S.D. Ill. June 19, 2018)

(in turn quoting Dougherty, 2014 WL 3542243, at *10)). Thus, plaintiffs’

attempts to manipulate their allegations “to circumvent federal officer

removal by the use of jurisdictional disclaimers have generally failed.”

Dougherty, 2014 WL 3542243, at *5 (collecting cases); Reaser, 2008 WL


                                        38
       Case: 23-55597, 10/13/2023, ID: 12809770, DktEntry: 10, Page 45 of 67




8911521, at *6; Redman v. A.W. Chesterton Co., 2008 WL 4447729, at *3 (N.D.

Cal. Sept. 30, 2008). Instead, courts will credit plaintiffs’ disclaimers only if

they are “sufficiently clear and specific that, on remand, the state court would

not be left to determine whether an action was taken on behalf of an officer of

the United States and under color of office.” Healthcare Venture Partners,

LLC v. Anthem Blue Cross & Blue Shield, 2021 WL 5194662 at *8 (S.D. Ohio

Nov. 8, 2021); see Marley v. Elliot Turbomach. Co., Inc., 545 F. Supp. 2d 1266,

1275 (S.D. Fla. 2008).

      Claim-disclaimers, in other words, must waive a “discrete and readily

identifiable category whose membership does not require the state court to

consider the contours of the federal officer removal statute.” Healthcare

Venture Partners, 2021 WL 5194662 at *8. For example, parties in asbestos

cases have been permitted to waive all claims arising out of asbestos exposure

at specific federal locations. See, e.g., Lockwood v. Crane Co., 2012 WL

1425157, at *1-2 (C.D. Cal. Apr. 25, 2012). Such location-based waivers can

remove the federal issues and defenses from a case without presenting the

need or opportunity to litigate the scope of the officers’ federal duties in state

court. In those cases, the relevant federal conduct all occurred at specific




                                        39
         Case: 23-55597, 10/13/2023, ID: 12809770, DktEntry: 10, Page 46 of 67




locations, and courts on remand could effectuate the claim disclaimer simply

by excluding evidence or argument relating to those locations.

         In contrast, courts “reject[] circular disclaimers that would defeat [the]

purpose of § 1442(a)(1) by forcing federal contractors to prove in state court

that they were acting under the direction of the federal government.” St.

Charles, 990 F.3d at 451 (quoting Marley, 545 F. Supp. 2d at 1275); see Siders

v. 20th Cent. Glove Corp. of Tex., 2016 WL 1733473, at *4 (S.D. W. Va. Apr. 29,

2016).     Courts are “unwilling to credit waivers or disclaimers when the

‘applicability [of the waiver] turns on the core question of whether a

defendants’ alleged tort was required or caused by their relationship with the

federal government.’” Healthcare Venture Partners, 2021 WL 5194662, at *7

(quoting Dougherty, 2014 WL 3542243, at *10).

         For example, a court found invalid a disclaimer of claims arising out of

asbestos exposure “caused by any acts or omissions of a party Defendant

committed at the direction of an officer of the United States Government.”

Reaser, 2008 WL 8911521, at *6. Another court similarly rejected a disclaimer

of claims seeking recovery “resulting from exposure to asbestos dust caused

by any acts or omissions of a party Defendant committed at the direction of an

officer of the United States Government.” Oberstar, 2008 WL 11338471, at *3.


                                          40
       Case: 23-55597, 10/13/2023, ID: 12809770, DktEntry: 10, Page 47 of 67




Still another plaintiff’s disclaimer of “all claims arising from an act or omission

on a federal enclave, or of any officer of the U.S. or any agency or person acting

under him occurring under color of such office” was invalid. Reinbold, 2018

WL 3036026, at *2; see also, e.g., Ballenger v. Agco Corp., 2007 WL 1813821,

at *1 (N.D. Cal. June 22, 2007) (discrediting waiver of “any claim arising from

any act or omission of … any officer of the United States” or act “performed

under specific direction of the United States … or any Officer of the United

States”).

      This insistence on a clear and specific claim waiver makes good sense.

Under section 1442(a)(1), “the question ‘whether the challenged act was

outside the scope of [the Defendant’s] official duties, or whether it was

specifically directed by the federal Government, is one for the federal—not

state—courts to answer.’” Leite, 749 F.3d at 1124 (quoting Isaacson v. Dow

Chem. Co., 517 F.3d 129, 138 (2d Cir. 2008)). Vague or circular disclaimers

flatly contradict that Congressional purpose because the state court on

remand would need to adjudicate the scope of the officer’s federal duties to

determine the scope of the waiver. See St. Charles, 990 F.3d at 451 (citing

Marley, 545 F. Supp. 2d at 1275); Dougherty, 2014 WL 3542243 at *5.




                                        41
       Case: 23-55597, 10/13/2023, ID: 12809770, DktEntry: 10, Page 48 of 67




      2.    The State’s post-removal disclaimers are facially invalid because

they do not waive a “sufficiently clear and specific” category of claims.

Healthcare Venture Partners, 2021 WL 5194662, at *8.                       Indeed,

notwithstanding its multiple attempts and iterations, the State never has

articulated what claims it purports to waive. In its Complaint, the State

purported to waive claims arising out of “the creation of custom formularies

for a federal officer” and claims “seek[ing] to recover moneys paid by the

federal government” or “federally mandated co-pays.”              ER-189.      The

Complaint also stated that it did not bring “claim(s) involving a federal officer

associated with any [FEHBA] healthcare benefits plan,” but did not clarify

whether the latter sentence was intended to have independent effect. ER-189.

      In its motion to remand, the State recharacterized its waiver, stating

“federal issues are not involved” and that the State “disavows any inclusion of

federal insurance plans.” ER-122. The State then stated that it was not

“asserting claims related to FEHBA,” and it was “not challenging Caremark’s

actions for FEHBA programs.” ER-132; ER-135. The State also said it was

“not challenging Caremark’s conduct with respect to FEHBA plans.” ER-139.

      In its reply brief, the State purported to “disclaim[]” “Caremark’s

FEHBA rebate conduct,” and stated it was not asserting “claims against


                                        42
      Case: 23-55597, 10/13/2023, ID: 12809770, DktEntry: 10, Page 49 of 67




Caremark related to any FEHBA plan.” ER-82. The State further purported

to waive “claims regarding Caremark’s FEHBA plan conduct.” ER-84.

     At oral argument, the State repeatedly said that it was “disclaiming

FEHBA” without explanation as to what that specifically meant. ER-27; ER-

29-30; ER-52 (“FEHBA [is] disclaimed”). The State also said that it was “not

seeking relief from PBMs related to … FEHBA.” ER-52.

     The State’s ever-changing post-removal disclaimers lack any specificity,

much less the high degree of specificity necessary to protect Caremark from

litigating the scope of its federal duties in state court. To determine what

conduct the State challenges and what conduct the State disclaims, a state

court would need to assess what “actions [Caremark took] for FEHBA

programs,” what of Caremark’s challenged conduct is “related to any FEHBA

plan,” as well as what constitutes “FEHBA rebate conduct,” and “FEHBA

plan conduct.”   As explained above, the State and Caremark vigorously

disagree about the scope of Caremark’s federal duties and the extent to which

Caremark’s rebating practices were undertaken on behalf of FEHBA and its

FEHBA clients. Remanding the case, therefore, is guaranteed to “forc[e

Caremark] to prove in state court that [it was] acting under the direction of

the federal government.” St. Charles, 990 F.3d at 451. The State effectively


                                       43
       Case: 23-55597, 10/13/2023, ID: 12809770, DktEntry: 10, Page 50 of 67




conceded as much by stating that it will rely on expert testimony in state court

to separate FEHBA and non-FEHBA conduct.                  ER-48.     Contrary to

Congress’s intent, the state court would be “left to determine whether an

action was taken on behalf of an officer of the United States and under color

of office.” Healthcare Venture Partners, 2021 WL 5194662 at *8.

      3.    In reaching the opposite conclusion, the district court held that the

disclaimer “deals with specific claims—i.e., claims arising out of the PBM

Defendants’ work on behalf of FEHBA—rather than generally disclaiming

the Court’s jurisdiction.” ER-13. But the district court undertook the wrong

analysis because it explicitly was referring to “[t]he disclaimer in the

Complaint.” ER-13 (emphasis added). As discussed above, the disclaimer in

the Complaint was far too narrow to cover the federal conduct the State

charges. Supra, pp.34-38. Any conclusion that the State has disclaimed all

federal rebate-related conduct (even were that possible as a factual matter)

could only be based on the State’s post removal pronouncements. ER-13-14.

As the court itself explained, it found the disclaimer “sufficient” only by

considering the Complaint’s disclaimer “and Plaintiff’s subsequent waivers.”

ER-13.




                                        44
       Case: 23-55597, 10/13/2023, ID: 12809770, DktEntry: 10, Page 51 of 67




      The court did not attempt to explain how the post-removal waiver it

credited and found sufficient—the disclaimer of “claims arising out of

[Caremark’s] work on behalf of FEHBA,” ER-13—was sufficiently specific to

prevent litigation over the scope of Caremark’s federal duties in state court.

Nor could it. Whether or not Caremark was performing “work on behalf of

FEHBA” when negotiating rebates is the central issue in dispute on appeal,

and requiring a state court to adjudicate that waiver defeats the core purpose

of federal officer removal.     As the Supreme Court has explained, “[t]he

purpose of the federal officer removal statute is ‘to ensure a federal forum in

any case where a federal official is entitled to raise a defense arising out of his

duties.’” Goncalves, 865 F.3d 1244 (emphasis added) (quoting Arizona v.

Manypenny, 451 U.S. 232, 241 (1981)).           Under the district court’s own

formulation, the state court on remand will need to adjudicate precisely the

same question—which of the State’s claims “aris[e] out of the PBM

Defendants’ work on behalf of FEHBA.” ER-13.

      The district court’s error is particularly harmful here because the JPML

instituted an insulin-pricing MDL in which a federal court will consider

substantially   similar    claims—and        Caremark’s   federal    defenses—in

consolidated nationwide proceedings. See Dkt. 8, Ex. A, Transfer Order In re:


                                        45
       Case: 23-55597, 10/13/2023, ID: 12809770, DktEntry: 10, Page 52 of 67




Insulin Pricing Litig., MDL No. 3080 (Aug. 3, 2023). Parallel state-court

litigation creates the very real prospect that State and federal courts will reach

conflicting results on the same federal issues that should properly be decided

in federal court.

            3.      The District Court Erred by Relying on the State’s
                    Post-Removal Disclaimers.

      Even if none of the above flaws doomed the State’s post-removal

waivers, this Court still should vacate and remand the decision below because

the district court improperly relied on post-removal developments in assessing

its jurisdiction. “[J]urisdiction must be analyzed on the basis of the pleadings

filed at the time of removal without reference to subsequent amendments.”

Sparta Surgical, 159 F.3d at 1213; O’Halloran v. Univ. of Wash., 856 F.2d

1375, 1379 (9th Cir. 1988). Therefore, when a case is removed pursuant to

section 1442(a)(1), federal courts “d[o] not lose jurisdiction once Plaintiffs

cease[] to assert a claim that [is] subject to [a federal defense].” Williams v.

Lockheed Martin Corp., 990 F.3d 852, 862-63 (5th Cir. 2021); accord Williams

v. Costco Wholesale Corp., 471 F.3d 975, 976 (9th Cir. 2006).

      Indeed, the State conceded below that post-removal developments do

not impact whether “removal was proper.” ER-85. The State instead cited

cases in which courts have looked to post-removal disclaimers not to determine

                                        46
       Case: 23-55597, 10/13/2023, ID: 12809770, DktEntry: 10, Page 53 of 67




jurisdiction, but to determine whether to exercise their discretion to remand

the case even though jurisdiction was proper. See ER-129 (citing, e.g., Pelker

v. Air & Liquid Sys. Corp., 2018 WL 679642, at *8 (D. Or. Feb. 2, 2018)); see

also Wood v. Crane Co., 764 F.3d 316, 321 (4th Cir. 2014); Healthcare Venture

Partners, 2021 WL 5194662, at *9 (“Certainly, the court is not required to

remand those claims.”); Dougherty, 2014 WL 3542243, at *16 (“A post-removal

claim disclaimer does not compel automatic remand.”).

      The district court here engaged in no such discretionary inquiry.

Rather, it erroneously held that the State’s post-removal disclaimers

“demonstrate the Court’s lack of jurisdiction.”         ER-13.    Had the court

concluded that it had jurisdiction and then applied its discretion, it would have

been obliged to consider factors such as “the values of judicial economy,

convenience, fairness, and comity in order to decide whether to exercise

jurisdiction over a case brought in that court involving pendent state-law

claims.” Carnegie-Mellon Univ. v. Cohill, 484 U.S. 343, 350 (1988); see Wood,

764 F.3d at 321. The district court conducted no such discretionary weighing.

Rather, it incorrectly determined there was no federal jurisdiction in the first

place. That failure to exercise discretion is, itself, an abuse of discretion. See,

e.g., Hardesty v. Sacramento Cnty., 824 F. App’x 474, 478 (9th Cir. 2020).


                                        47
        Case: 23-55597, 10/13/2023, ID: 12809770, DktEntry: 10, Page 54 of 67




       Even if the court had considered the relevant factors, it would have been

an abuse of discretion to remand this case. The interests of comity weigh

strongly in favor of federal jurisdiction because the State challenges conduct

that Caremark undertook under the direction of federal officers, and because

any relief granted in this case would directly impact rebate payments that flow

back to FEHBA carriers and effectively become federal funds. That is doubly

true here because federal issues, including the validity of Caremark’s federal

defenses, will be addressed in a nationwide federal-court MDL in the District

of New Jersey that includes many other States’ substantially similar claims.

See Dkt. 8, Ex. A, Transfer Order In re: Insulin Pricing Litig., MDL No. 3080,

at 3 (Aug. 3, 2023). Remanding this case would keep it separate from the MDL,

would directly undermine the efficiency and fairness the JPML sought to

achieve, and would raise the prospect of inconsistent state and federal rulings

on the scope and applicability of federal law.

III.   Removal Serves the Purposes of Section 1442(a)(1).

       1.    The district court also found that the policy rationales behind

federal officer removal would not be offended by remand here. ER-16. The

district court’s conclusion was wrong.          Section 1442(a)(1) represents a

centuries-long project to create and expand the rights of federal officers, and


                                         48
       Case: 23-55597, 10/13/2023, ID: 12809770, DktEntry: 10, Page 55 of 67




those acting at their direction, to a federal forum in which to litigate their

federal defenses for conduct arising out of their federal duties. The first

federal officer removal statute was enacted in an 1815 customs statute to

facilitate enforcement of a trade embargo against England as part of the war

effort in the War of 1812. See Watson v. Philip Morris Cos., Inc., 551 U.S. 142,

147 (2007).    Congress enacted the federal officer removal statute in an

“attempt to protect federal officers [enforcing the embargo] from interference

by hostile state courts.” Willingham v. Morgan, 395 U.S. 402, 405 (1969). The

original statute authorized removal for customs officers and “any other person

aiding or assisting” those officers. Watson, 551 U.S. at 148.

      Congress enacted the next federal officer removal statute in 1833 in

response to South Carolina’s passage of a law authorizing prosecution of

federal tariff agents. See id. (citing Act of Mar. 2, 1833, ch. 57 § 3, 4 Stat. 633).

To “give a chance to the [federal] officer to defend himself where the authority

of the law was recognized,” Congress granted removal to federal officers and

other persons enforcing the revenue laws. Id. (quoting 9 Cong. Deb. 461 (1833)

(statement of Sen. Daniel Webster)).          Congress extended federal officer

removal rights to all federal officers, and those “acting under” federal officers,

in 1948. See id. at 148-49. During prohibition, federal officers routinely availed


                                         49
       Case: 23-55597, 10/13/2023, ID: 12809770, DktEntry: 10, Page 56 of 67




themselves of removal when prosecuted in state courts for enforcing liquor

laws. Id. at 149-50. In the Federal Courts Improvement Act of 1996, Congress

expanded removal rights to federal agencies. See Pub. L. No. 104-317, 110

Stat. 3847 (1996).

      In 2011, Congress amended section 1442(a)(1) to again “broaden the

universe of acts that enable Federal officers to remove to Federal court.” H.R.

Rep. No. 112–17, 6 (2011), as reprinted in 2011 U.S.C.C.A.N. 420, 425.

Congress did so by authorizing removal for claims “relating to” acts under

color of federal office. Removal Clarification Act of 2011, Pub. L. No. 112–51,

125 Stat. 545. As amended to its current language, the statute provides

removal for:

      (1) The United States or any agency thereof or any officer (or any
      person acting under that officer) of the United States or of any
      agency thereof, in an official or individual capacity, for or relating
      to any act under color of such office or on account of any right, title
      or authority claimed under any Act of Congress for the
      apprehension or punishment of criminals or the collection of the
      revenue.

28 U.S.C. § 1442(a)(1) (new language emphasized).

      2.    These various provisions were enacted (and broadened) to prevent

federal officers from being “brought to trial in a State court, for an alleged

offense against the law of the State, yet warranted by the Federal authority


                                        50
       Case: 23-55597, 10/13/2023, ID: 12809770, DktEntry: 10, Page 57 of 67




they possess.” Willingham, 395 U.S. at 406 (quoting Tennessee v. Davis, 100

U.S. 257, 263 (1880)). The statutory right was “meant to ensure a federal

forum in any case where a federal official is entitled to raise a defense arising

out of his official duties” to guarantee federal officers a trial “free from local

interests or prejudice.” Arizona v. Manypenny, 451 U.S. 232, 241-42 (1981).

      The district court here credited the State’s purported interest in

bringing its policy preferences to bear upon private entities acting under

federal officers. ER-16. That logic turns the federal-officer-removal statute

on its head. During the War of 1812, States surely had a “strong state

interest,” ER-16, in avoiding the trade embargoes that the federal government

sought to enforce. And the 1833 Act was enacted in direct response to South

Carolina’s attempt to nullify federal tariffs, a law that the State of course

wanted to enforce in its own courts. But the central purpose of federal officer

removal is to allow federal officers to litigate federal defenses in federal court,

preventing States from bringing lawsuits reflecting “local prejudice[s]” in

“hostile state court[s].”   See Watson, 551 U.S. at 148, 150.          Congress’s

continued expansion of removal rights demonstrates its preference that the tie

go to the officer in any disputed case of removal.




                                        51
       Case: 23-55597, 10/13/2023, ID: 12809770, DktEntry: 10, Page 58 of 67




      Here, the State’s purported interest cannot trump Congress’s

preference for a federal forum. The State’s lawsuit challenges the existence

and size of rebates, which necessarily impact Caremark’s other clients,

including its FEHBA carrier clients. The rebates the Government challenges

include rebates that pass through directly to FEHBA carriers, and are thus

federal funds. A state-court judgment that Caremark’s negotiation of rebates

violates the law would interfere with the federal government’s ability to

acquire discounted insulin prices and provide pharmacy benefits to individuals

covered under FEHBA plans in California and beyond.

IV.   In the Alternative, the Court Should Join Its Sister Courts and
      Overrule the “Causal Nexus” Test.

      In the alternative, this Court should join its sister circuits in abandoning

the “causal nexus” standard. In light of Congress’s 2011 Amendments, this

Court’s sister circuits have recognized that parties seeking removal under

section 1442(a)(1) no longer need to demonstrate a “causal nexus.” See Baker

v. Atl. Richfield Co., 962 F.3d 937, 944 (7th Cir. 2020) (“We … now join all the

courts of appeals that have replaced causation with connection and expressly

adopt that standard as our own.”); see also, e.g., In re Commonwealth’s Motion

to Appoint Couns. Against or Directed to Def. Ass’n of Phila., 790 F.3d 457,

471 (3d Cir. 2015); Sawyer v. Foster Wheeler LLC, 860 F.3d 249, 258 (4th Cir.

                                        52
       Case: 23-55597, 10/13/2023, ID: 12809770, DktEntry: 10, Page 59 of 67




2017); Latiolais v. Huntington Ingalls, Inc., 951 F.3d 286, 292 (5th Cir. 2020)

(en banc); Moore v. Elec. Boat Corp., 25 F.4th 30, 35 (1st Cir. 2022).

      Although this Court has recognized that the 2011 Amendments further

broadened the scope of section 1442(a)(1), it continues to require federal-

officer defendants to demonstrate a “causal nexus.” See, e.g., Goncalves ex rel.

Goncalves v. Rady Children’s Hosp. San Diego, 865 F.3d 1237, 1245-46 (9th

Cir. 2017). The district court applied that standard below. ER-16.

      This Court should give effect to the words Congress enacted, and the

Supreme Court already has defined the words “relating to” in the Airline

Deregulation Act. Looking to dictionary definitions, the Court held that

“relating to” has a “broad” meaning—“to stand in some relation; to have

bearing or concern; to pertain; refer; to bring into association with or

connection with.” Morales v. Trans World Airlines, Inc., 504 U.S. 374, 383

(1992) (quoting Black’s Law Dictionary 1158 (5th ed. 1979)); see also Shaw v.

Delta Air Lines, Inc., 463 U.S. 85, 96-97 & n.16 (1983) (same). Like its sister

circuits, this Court should adopt this dictionary-definition standard.

      The district court granted the State’s motion because it believed that the

disclaimer “negate[d] any causal nexus that might otherwise have existed

between Plaintiff’s claims and [Caremark’s] conduct on behalf of government


                                        53
       Case: 23-55597, 10/13/2023, ID: 12809770, DktEntry: 10, Page 60 of 67




officers.” ER-16 (emphasis added). Under the correct standard, however, the

State’s claims “relate to” Caremark’s federal duties even if the State is able to

disclaim Caremark’s FEHBA-specific conduct.                 Caremark conducts

negotiations on behalf of a broad swath of clients simultaneously, and its ability

to negotiate effectively depends on its collective negotiating power. The

federal government avails itself of the collective negotiation process about

which the State complains and that the State seeks to enjoin. Thus, even

assuming arguendo that the State does not directly challenge Caremark’s

conduct undertaken on behalf of its FEHBA clients, it indisputably challenges

conduct that has a “bearing” or “connection with” that conduct.

                                CONCLUSION

      For the foregoing reasons, the Court should reverse the District Court’s

judgment.

Dated: October 13, 2023              Respectfully submitted,

                                     s/ Enu Mainigi

                                     ENU MAINIGI
                                        Counsel of Record
                                     CRAIG SINGER
                                     A. JOSHUA PODOLL
                                     WILLIAMS AND CONNOLLY LLP
                                       680 Maine Avenue SW
                                       Washington, DC 20024
                                       Tel: (202) 434-5000
                                        54
Case: 23-55597, 10/13/2023, ID: 12809770, DktEntry: 10, Page 61 of 67




                                emainigi@wc.com

                              MATTHEW DONALD UMHOFER
                              ELIZABETH A. MITCHELL
                              UMHOFER, MITCHELL & KING LLP
                                767 S. Alameda St., Suite 270
                                Los Angeles, California 90021
                               Tel: (213) 394-7979

                              Attorneys    for   CaremarkPCS        Health,
                              L.L.C.




                                 55
       Case: 23-55597, 10/13/2023, ID: 12809770, DktEntry: 10, Page 62 of 67




                   STATEMENT OF RELATED CASES

      Pursuant to Ninth Circuit Rule 28-2.6, Appellant CaremarkPCS Health,

L.L.C. identifies People of the State of California v. Express Scripts, Inc., et

al., No. 23-55599, as a related case pending in the Ninth Circuit.
       Case: 23-55597, 10/13/2023, ID: 12809770, DktEntry: 10, Page 63 of 67




                    CERTIFICATE OF COMPLIANCE

      Pursuant to Federal Rules of Appellate Procedure 27(d)(2)(A) and 32(g),

and 9th Circuit Rule 32-1, I certify that this motion complies with applicable

type-volume and length limitations because this motion contains 10,976 words,

excluding the items exempted by Federal Rules of Appellate Procedure

27(a)(2)(B) and 32(f).

      This motion complies with the typeface and typestyle requirements of

Fed. R. App. P. 32(a)(5)-(6) because this motion has been prepared in a

proportionally spaced typeface using Microsoft Office Word for Office 365 in

14-point CenturyExpd BT font.

                                            s/ Enu Mainigi
                                            Enu Mainigi
       Case: 23-55597, 10/13/2023, ID: 12809770, DktEntry: 10, Page 64 of 67




                       CERTIFICATE OF SERVICE

      I, Enu A. Mainigi, counsel for appellants and a member of the Bar of this

Court, certify that, on October 13, 2023, a copy of the attached Brief of

Appellants was filed with the Clerk and served on the parties through the

Court’s electronic filing system. I further certify that all parties required to

be served have been served.



                                            s/ Enu Mainigi
                                            Enu Mainigi


Dated: October 13, 2023
Case: 23-55597, 10/13/2023, ID: 12809770, DktEntry: 10, Page 65 of 67




                  STATUTORY ADDENDUM
          Case: 23-55597, 10/13/2023, ID: 12809770, DktEntry: 10, Page 66 of 67




                                      TABLE OF CONTENTS

28 U.S.C. § 1442 .............................................................................................. Add.1
       Case: 23-55597, 10/13/2023, ID: 12809770, DktEntry: 10, Page 67 of 67




28 U.S.C. § 1442. Federal officers or agencies sued or prosecuted

    (a) A civil action or criminal prosecution that is commenced in a State court
and that is against or directed to any of the following may be removed by them
to the district court of the United States for the district and division embracing
the place wherein it is pending:
      (1) The United States or any agency thereof or any officer (or any person
   acting under that officer) of the United States or of any agency thereof, in
   an official or individual capacity, for or relating to any act under color of
   such office or on account of any right, title or authority claimed under any
   Act of Congress for the apprehension or punishment of criminals or the
   collection of the revenue.


                           *      *     *      *     *




                                      Add.1
